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AO 91 (Rev. 0]/09} Criminal Complaint U'S- Dl§l_lil[l [Oi.ilil - NiD UF NY

UNITED STATES DISTRICT COURT t ' '~ t D

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NORTHERN Districtof NEW YORK

 

 

 

 

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United States of America ) tai-trean K. Bm-:i:;.iii_ dam

v- )

) Case No. 8:17-MJ-565 (GLF)
)
Catalin Andrei ALBU )

Defendnn!
CRIMINAL COMI’LAINT

l, the complainant in this case, State that the following is true to the best of my knowledge and belief.

On or about the date

Of 12/12/2017 in the countyof Frank|in in the Northern District of
New vera ,the defendamviolated 8 g S‘ C' 1325(3)(2) ,anorrenseaescrib@d asr@uows;

The defendant, being an alien, did avoid and elude examination and inspection by immigration officials ofthe United
States. as he entered the United State.s from Canada.

This criminal complaint is based on these facts:

On December 12th, 20 l 7, at approximately 6: i 0 p.m., NY Border Patrol Agents received a phone call to assist New
York State Police with a traffic stop on State Route 30 South of the town of Ma|one. Upon arrival, NYSP had already
placed all three subjects in their vehicles to be transported to the Malone NYSP barracks for processing One of the
passengers was later identified as ALBU, Catalin Andi'ei, born on_in lasi, Romania. Agents conducted
records checks on ALBU which revealed him to be without any valid immigration documents to legally enter or
remain in the United States. ALBU was in possession ofa Romanian Passpoit, which included no valid visa to enter
the United States. Citizens of Romania are required to obtain a valid visa to enter the United States. Also, CBP Lane
Checks show he did not present himself at a U.S. Port ofEntry for inspection. Had he presented himself, he would
have been denied due to the lack ofa valid visa.

ALBU was transported to the Burke Border Patrol Slation for further processing Records indicated ALBU flew into
Mexico City on November |8, 2017 where he stayed fora few weeks On December 10, 2017, ALBU flew to
Montreal, Quebec, Canada as a visitor. Subject then claimed during the interview that he was smuggled across the
international Boundary between Canada and the United States, via boat, on December 12, 2017 near l-logansburg,
NY. He stated he was taken across the St. Lawrence River then picked up by car and driven into the United States.
ALBU stated that he paid $6,000 to a friend in Canada to smuggle him into the United States. Once in the United
States, ALBU paid a woman SI,OOO to drive him to New York City.

  

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mm ’s signature

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Sworn to before me and signed in my presence

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Clty and State: Plattsl)urglt. Ncw York __ ___ _ l'[onnrilblc Gar_v l-. Favro, U.S. Magistratc Judge
i"."!`tt!ed name and title

 

 

 

